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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
v.                                           Case No. 17-20072
                                             Honorable Victoria A. Roberts
ADRIAN WALKER,

     Defendant.
_______________________________/

               ORDER DENYING DEFENDANT’S MOTION
             FOR COMPASSIONATE RELEASE [ECF Nos. 37, 40]

      Upon motion of ☒ the Defendant ☐ the Director of the Bureau of Prisons

for a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering

the applicable factors provided in 18 U.S.C. § 3553(a) and the applicable policy

statements issued by the Sentencing Commission, IT IS ORDERED that the

motion is:   See pages 4-6.

☐ GRANTED

      ☐ The defendant’s previously imposed sentence of imprisonment of

      __________________ is reduced to                                . If this

      sentence is less than the amount of time the defendant already served, the

      sentence is reduced to a time served; or

      ☐ Time served.
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        If the defendant’s sentence is reduced to time served:

                  ☐ This order is stayed for up to fourteen days, for the

           verification of the defendant’s residence and/or establishment of a

           release plan, to make appropriate travel arrangements, and to ensure

           the defendant’s safe release. The defendant shall be released as soon

           as a residence is verified, a release plan is established, appropriate

           travel arrangements are made, and it is safe for the defendant to travel.

           There shall be no delay in ensuring travel arrangements are made. If

           more than fourteen days are needed to make appropriate travel

           arrangements and ensure the defendant’s safe release, the parties shall

           immediately notify the court and show cause why the stay should be

           extended; or

                  ☐ There being a verified residence and an appropriate release

           plan in place, this order is stayed for up to fourteen days to make

           appropriate travel arrangements and to ensure the defendant’s safe

           release. The defendant shall be released as soon as appropriate travel

           arrangements are made and it is safe for the defendant to travel. There

           shall be no delay in ensuring travel arrangements are made. If more

           than fourteen days are needed to make appropriate travel



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             arrangements and ensure the defendant’s safe release, then the parties

             shall immediately notify the court and show cause why the stay

             should be extended.

      ☐ The defendant must provide the complete address where the defendant

will reside upon release to the probation office in the district where they will be

released because it was not included in the motion for sentence reduction.

      ☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a

“special term” of ☐ probation or ☐ supervised release of ________ months (not

to exceed the unserved portion of the original term of imprisonment).

                    ☐ The defendant’s previously imposed conditions of

             supervised release apply to the “special term” of supervision; or

                    ☐ The conditions of the “special term” of supervision are as

             follows:

                        __________________________________________

                        __________________________________________

                        __________________________________________

                        __________________________________________

      ☐ The defendant’s previously imposed conditions of supervised release are

unchanged.


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      ☐ The defendant’s previously imposed conditions of supervised release are

modified as follows:

         ____________________________________________________

         ____________________________________________________

         ____________________________________________________

         ____________________________________________________

         ____________________________________________________


☐ DEFERRED pending supplemental briefing and/or a hearing. The court

DIRECTS the United States Attorney to file a response on or

before__________________________, along with all Bureau of Prisons records

(medical, institutional, administrative) relevant to this motion.


☒ DENIED after complete review of the motion on the merits.

      ☒ FACTORS CONSIDERED (Optional):

      In November 2017, the Court sentenced Adrian Walker to 32 years in prison

after he pled guilty to interference with commerce by robbery, brandishing a

firearm during a crime of violence, and felon in possession of a firearm. Walker

now moves for compassionate release based on his medical conditions and the

COVID-19 pandemic.

      The compassionate release statute allows the Court to release a defendant if,

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among other things, “extraordinary and compelling reasons warrant such a

[release],” 18 U.S.C. § 3582(c)(1)(A)(i), and the applicable factors in 18 U.S.C. §

3553(a) support release. United States v. Jones, 980 F.3d 1098, 1106 (6th Cir.

2020).

       Walker says extraordinary and compelling reasons exists for his release

because he has a high risk of contracting COVID-19 in prison and because he

suffers from diabetes and obesity, which make him more susceptible to COVID-

19. The government agrees that Walker’s medical conditions constitute an

extraordinary reason; however, it says Walker’s reasons for release are not

compelling. The parties also dispute whether the § 3553(a) factors support release.

       The Court assumes, without deciding, that Walker’s medical conditions

constitute extraordinary and compelling reasons for release. Nevertheless, Walker

is not entitled to his requested relief because the applicable § 3553(a) factors weigh

strongly against release at this early stage of his sentence. See United States v.

Ruffin, 978 F.3d 1000, 1008 (6th Cir. 2020) (“We have repeatedly recognized that

district courts may deny [compassionate release requests] under the § 3553(a)

factors even if ‘extraordinary and compelling’ reasons would otherwise justify

relief.”).

       Including his time in pretrial detention, Walker has served just under four

years in prison – less than fifteen percent of his total sentence. Walker’s expected


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release date is not until May 15, 2045, leaving over 24 years remaining on his

sentence. Considering the dangerous nature and circumstances of his offenses –

which involved robbing numerous food delivery drivers at gunpoint – releasing

Walker this early in his sentence would not reflect the seriousness of the offense,

promote respect for the law, provide just punishment, afford adequate deterrence,

or protect the public. See § 3553(a)(1)-(2); Ruffin, 978 F.3d at 1008-09 (affirming

the denial of compassionate release under § 3553(a) where the defendant had

served less than half of his 25-year sentence). Nor would it sufficiently account for

Walker’s history and characteristics – such as the fact that he: (1) was on probation

for felony home invasion at the time he carried out the underlying offenses; (2) has

been disciplined several times for minor (e.g., possessing stolen property and being

absent from assignment) to moderate (i.e., “disruptive conduct-moderate”) conduct

while serving the underlying sentence, [see ECF No. 42-5]; and (3) is deemed to

present a medium to high risk of recidivism by the Bureau of Prisons, [see ECF

No. 42-6].

      Because the applicable § 3553(a) factors weigh against Walker’s release, the

Court DENIES his motion.



☐ DENIED WITHOUT PREJUDICE because the defendant has not exhausted

all administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30


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days lapsed since receipt of the defendant’s request by the warden of the

defendant’s facility.

      IT IS ORDERED.
                                             s/ Victoria A. Roberts
                                             Victoria A. Roberts
                                             United States District Judge

Dated: January 11, 2021




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